Case 2:93-cv-02396-oh Document1 Filed 05/04/93 Pagelof2 PagelD1

IN TEE QNITED STATES OISTRICT COURT Te aT

POR THE WESTERN DISTRICT OF TENWESSEE
WESTERN DIVISION

UHITES STATES OF AMPRTO
Plaintiff,
Vea Civil No. 94-25396-HA

Donald M. Rowe,

fefendant.

JUDGMENT

The Summens and Complainl in this action having been duly
served on the detendant, above«named, on June 3, 1993, and the tine
having expired, and defendant nor having appesrad, answered of
otherwise defended, and the plaintiff having duly filed its Reqaiasit
for Detauit, and tliat Default was entered by the Clerk on the Tth
day of duly, 1993, and the plaintiff having Filed an affidavit of
the amount due the plaintiff from the dafendant, it appuwarce that
the plaintift is entitled ta have dudement against the defendant =n
Pravec for in its Gomplaint.

Now on wotion af the Enited States Abterney, it is:

ADTULCED, and VRUERED that Fudyment ig entered in the tayor of
the United states of America, pliaiutifs, againat above-naned
defendant, in the amount of $944,498.42 (principal v41,759.45,
acciMed jiherest af $114,206.64 ag of March a, 199 and interest
from Mateh 3, 19939 through Quiy 13, 1993 (lag days) at 4.542% per

annum vf $22,605.24 for a debt of $853,571.54 with a in Pex cenk

“ete diese] entered a dice toeet im costae whi, Duie 3a cnd/p-

os estes Peta "
Case 2:93-cv-02396-oh Document1 Filed 05/04/93 Page2of2 PagelD 2

Surcharge on the debt pursuant to 22 U.5.0. § 3611 amounting to
$25,847.15) plus interest from the date of yudqment at the Legal

rate cemputed daily and compounded annually until paid in full.

e Ze
meee re a
ark, Unit State. Distriaet Court

for the Western Gistrict of Tennesse

me TP IA DEY
“ {lt TROLIG. CLERK

 
